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                                                                            i.S.ir:1,, I      _'.ir;;
                                                                               ,, Jr--rl t,, _ jr.
                      IN THE UNITED STATES DISTRICT COURT

                     FORTHE SOUTHERNDISTRICTOF GEORGIAi:": i',;''i i \ /fII:

                                  AUGUSTADIVISION                      'L


 UNITED STATESOF AMERICA

                V.                                   cR 112-242

 ADRIAN DIAZ-FONSECA
 JOSE RIVEA MONTANO




          MAGISTRATE JUDGE'S REPORTAND RECOMMENDATION



        In the above-captioned
                             criminal case,the govemmenthaschargedDefendantsAdrian

 Diaz-Fonseca("Diaz-Fonseca")and JoseRivea Montano ('Montano") with one count of

 conspiracy to distribute and possesswith intent to distribute 50 grams or more of

 methamphetamine,                              in violation of 21 U.S.C. gg 8a1(a)(t)
               a scheduleII controlledsubstance,

 and (b)(l) and $ 846, aswell asone countofpossessionwith intent to distribute50 gramsor

 more of methamphetamine,a scheduleII controlled substance,in violation of 21 U.S.C.

 $$ 841(a)(l)and(b)(1)(A)and(B), and l8 U.S.C.$ 2.r (Doc.no.4, pp. 1-2,3-4.)Themauer

 is now before the Court becauseDiaz-Fonsecaand Montano have moved to suppressall

 evidencearising from a traffic stop of the vehiclein which they were travelingon April 20,

 2012. (Doc. nos. 139, 140.) The governmentfiled responsesin oppositionto the motions.2


          rDiaz-Fonsecaand Montano are chargedin multiple-count
                                                   a                indictment that also
 containschargesagainstfive otherco-defendants.(Doc. no. 4.) The indictmentalso includes
 a forfeiture allegationagainstDiaz-Fonsecaand Montano and their co-defendants.(I{)
           '?Whilefiled separately,the govemrnent'stwo responsesareidentical. (gg9doc. nos.
 1 5 2 ,1 5 3 . )
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 (Doc. nos. 152, 153.) As exhibits to their motions,both Defendantssubmittedcopiesof the

 incident report regarding the April 20th encounterand a "Consent to Search" form signed by

 Diaz-Fonsecaon that date. (Doc. nos. 139-1, 139-2, 140-1, 140-2.) The Court held an

 evidentiaryhearingon the matter,which beganon March 21,2013, and was continuedto and

 completedon April 30, 2013.r At the hearing,the Court heardtestimonyfrom Deputy Clay

 Hammond and Deputy JaredLand of the McDuffie County Sheriff s Office.4 The parties

 submittedtrventy-oneexhibitsat thehearing,includingtwo video recordingsof theApril 2Oth

 traffic stop,(gggGovernment's(hereinafter"Gov't's") Exs. 19,20). For the reasonssetforth

 below, the Court REPORTS and RECOMMENDS that Diaz-Fonseca'sand Montano's

                 be DENIED.5(Doc.nos.I39. 140.)
 motionsto suppress

 II.    FACTS

        A.      Briefing at Georgia Bureau of lnvestigation Office in Thomson

        At around3:00 a.m.,on April 20,2012, at the Thomsonoffice of the GeorgiaBureau

 of Investigation("GBI"), DeputyHammondandDeputyLand attendeda briehng with several

 other law enforcementofficers,includingGBI agentPatMorgan ("Agent Morgan"). (FTR 1,




        'The hearing was continuedat the requestof counselfor Defendantsafter it was
 revealedat the March 21st proceedingsthat one of the government'switnessesprovided an
 additionalvideo ofthe stopto the govemmentthe moming ofthe hearing,so that counselfor
 Defendantscould havesufficienttime to review the video.
        oDiaz-Fonseca                                         at the hearing.
                    and Montanoinvokedthe Rule of Sequestration
        sBoth Diaz-Fonsecaand Montano originally filed preliminary motions to suppress
 which did not comply with the specificityrequirementsof Loc. Crim. R. 12.1. (Doc. nos. 127,
 128.) The Court thus directedboth Defendantsto frle particularizedmotions. (Doc. nos. 133,
 134.) Becausethey subsequentlyfiled the particularizedmotionsdiscussedherein,the Court
 REPORTS and RECOMMENDS that the oreliminarvmotionsbe deemedMOOT. (Doc.
 nos.127.128.)
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                            FTR 2, 2:12:00-12:16,3:08:30-08:43.)6
 2:38:30-38:45, 2:38:48-39:02;                               Duringthebriefing,

 the deputieswere informed that a red or burgundyChevroletTwith a Georgiatag would be

 traveling eastboundon Interstate20 ("1-20") in McDufhe Countythat moming between5:00

 and 6:00 a.m.,andthat the vehiclewould containmethamphetamine.(FTR 1, 2:39:06-39:28,

 2:39:40-39:49;                 3:09:06-09:28.)DeputyHammondalsotestifiedthat
             FTR 2, 3:08:44-08:55,

 he recalledbeing told at the briefing that a personwith the last nameFonsecawould be the

 driver or a passenger,(FTR 1, 2:40:00-40:08),while Deputy Land testifiedthat he recalled

 being informed that the vehiclewould be occupiedby Hispanicsand that he wrote down the

 name"Miguel Fonsesco,"
                      (FTR 2, 3:09:06-09:45,
                                          4:15:00-15:10).The deputieswere also

                                 would likely be storedin the front bumper areaof the
 inlormed that the methamphetamine

 vehicleandcouldbe retrievedfrom its locationby useofa waterhose. (FTR 2, 2:20:02-20:09,

 3 :21:00-21: 10, 3:21:.25-21:35.)

        B.     Deputy Hammond ObservesTraffic Violation and Initiates Stop

        After the briefing, both deputies,as well as Agent Morgan, took positions on I-20

 eastboundwaiting for thevehicle: DeputyHammondwaitedat mile marker 169,DeputyLand

 at 168.5,andAgentMorganat 165."(FTR 1, 2:40:20-40:30;
                                                    FTR 2, 3:09:56-10:10.)Agent




        6Althougha transcriptofthe hearingheld on March 2lst and April 30th hasnot been
 prepared,the Court was able to review the proceedingson the Court's recordingsystem,For
 the Record("FTR"). The Court will refer to theproceedingsfrom March 21stas"FTR 1" and
 thosefrom April 30th as"FTR 2."
        TDeputyHammond testifiedthat he recalledbeing informed at the briefrng that the
 vehiclewould possiblybe a Malibu, (FTR 1,2:39:06-39:28),while DeputyLand testifiedthat
 he recalledthatthe vehiclewould possiblybe an Impala,(FTR 2, 3:09:06-09:15).
        sDeputyLand testifredthat the numbersofthe miles increaseasonetravelseastbound
 on I-20. (FTR 2- 3'.10:.12-10:,22.\
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 Morgan then radioed to Deputy Hammond and Deputy Land that a vehicle matching the

 descriptionpassedhim, and Deputy Land radioed the sameat around 5:10 a.m. (FTR I,

             FTR2,3:10:40-ll:03.) DeputyHammondsawthevehiclebetween5:10and
 2:40.46-41:041.

 5:13 a.m.,andhe pulledontoI-20 to follow it. (FTR l,2:41:O4-41,:18,2:41:30-41:36.)

        While he was fbllowing the vehicle, Deputy Hammond observedthat it failed to

 maintain its lane: the driver's sidetires of the vehicle,which was travelingin the right-hand

 lane,droveonto the centerline, touching"severaldottedlines."o(FTR I . 2:41:36-41:46; FTR

 2, 2:17:O5-1'7:3O,          .) DeputyHammond'spatrolcar was equippedwith video
                 2:11:55-18:07

 equipment,(FTR 1, 2:53:00-53:05),and he testifiedthat he believedthe failure to maintain

 lane was capturedon video,l'r(FTR 1,2:54:23-54:40).The govemmentsubmittedthe video

 frorn Deputy Hammond'spatrol car which, accordingto its time stamp,beginsat 5:14:36on

 April 20,2012,andendsat 5:56:19on the sameday. (Gov't'sEx.20.) Atabout5:14:50,the

 video showsthat the vehicleoccupiedby Diaz-Fonsecaand Montanobeginsto drift to its left

 towardthe centerline, and from 5:15:00to 5:15:05,the vehiclecanbe seendriving on the

 centerline.

        Before he initiated the traffic stop, Deputy Hammond also called the tag in to the

 Sheriff s Office, and he was informedthat the vehiclewasregisteredto apersonwith the last


         'Depu{ Hammondexplainedon cross-examination        thathe hasstoppedpeoplefor the
 "sameaction" in the pastin orderto seeiftheir driving abilitiesareimpaired,andthat driving
 on the centerline, crossingthe centerline, or touching the fog line, even if only one time,
 constitutesa failureto maintainone'slane. (FTR2,2:35:52-36:00,2:37:O6-37:53.)      Deputy
 Land likewise testifiedon cross-examination that touchingthe centerline, evenif only once,
 constitutedfailure to maintainone's lane and that he would stop a vehiclethat he witnessed
 do so. (FTR2, 4:16:48-17:35.)

         "'On cross-examination,  however,Deputy Hammondstatedthat it was possiblethat
 parl or all ofthe violation was not on the video. (FTR 2, 2:18:15-18:.24.)
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 name "Fonseca." (FTR 1, 2:41:46-42:31-FTP.2, 2:40:25-40:55.) Deputy Hammond then

 activatedhis patrol car's blue lights to initiate a traffic stop of the vehiclearoundExit 172.r1

 (FTR 1. 2:42:00-42:07.)

        C.      Traffic Stop and Verbal Requestfor Consent

                                                         the driver's sideandbegan
        After he stoppedthevehiclg DeputyHammondapproached

 speakingwith the driver, Diaz-Fonsec4askinghim if he was on any medicationsor other

 substancesthat might causehim to be impaired. (FTR 1, 2:42:46-42:58.) While Deputy

 Hammondwas talking to Diaz-Fonseca,Deputy Land arrived,and Deputy Hammond asked

            to exit the vehicle. (FTR 1, 2:42:58-43:10;
 Diaz-Fonseca                                        FTR 2, 3:12:50-13:00.)

        When he arrived,Deputy Land went to the passengerside of the vehicle and began

 speakingto Montano. (FTR l , 2:44:52-45:00.) Upon approach,Deputy Land saw air

 freshenersand a picture of "La SantaMuerte" hangingfrom the rearview minor. (FTR 2,

 3:23:07-23:19.) Accordingto DeputyLand,who hadnearlyfifteen yearsof law enforcement

 experienceat the time of the stop,(FTR 2, 4:16:14-16:40),he had learnedthroughnumerous

                       andclassesthat"La SantaMuerte" wasa saintworshipedbyHispanic
 interdictionconferences

 narcoticstratAckers.(FTR 2, 3:23:19-23:32,4:20:05-20:15.) When Deputy Land askedhim

 for identification,Montano gavehim a Mexican identificationcard with his picture and his

 name. (FTR 2, 3:13:04-13:30.)DeputyLand observedthat Montanospoke"broken English"

 and that he was very nervous: he was breathingheavily,he had a "thousandyard stare,"and

 the carotidarteryin his neckwasvisiblypulsating.(FTR 2, 3:13:30-13:55.)



         rrAccordingto DeputyHammond,he stoppedthe vehicleboth becauseof the failure
 to maintainlaneandbecausehe believedhe hadreasonablesuspicionto stopthe vehiclebased
 on the informationhe receivedat the GBI briefing. (FTR 2,2:13:22-1,3:33.)
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        Meanwhile,DeputyHammondinformedDiaz-Fonsecathat he was gettinga waming

 for failure to maintain lane,obtainedhis driver's license,and beganhlling out the waming.

 (FTR 1,2:44:l4-44:29.) DeputyLandjoined the two men andbegantalking to Diaz-Fonseca

 while DeputyHammondwascompletingthe waming. (FTR 1,2:44:30-44:39.)As he drafted

                                           whetherhestill lived in Arizona (thestate
 the waming, DeputyHamrnondaskedDiaz-Fonseca

 that issuedhis driver's license),while Deputy Land askedhim what his travelplanswere and

 abouthis businessin McDuffie County. (FTR 1, 2:45:15-45:25;
                                                          FTR 2, 3:14:45-15:30.)

 After he had Diaz-Fonsecasign the warning, as he was tearing out Diaz-Fonseca'scopy,

 DeputyHammondaskedhim whetherhe was transportinganythingillegal and if the deputies

 could searchhis vehicle. (FTR 1, 2:46:35-46:48;
                                              FTR 2, 2:21:22-22'.04.)Diaz-Fonseca

 answeredaffirmativelyto DeputyHammond'srequestfor consentto search.(FTR 1,2:46:5O-

 46:54;FTR 2, 2:41:22-41:30.)

        As noted earlier, Deputy Hammond'spatrol car containedvideo equipmentwhich

 captureda majority of the stop, including the verbal requestfor consent. (Gov't's Ex. 20.)

 The video showsthat DeputyHammondinitiatedthe stopby activatinghis blue lights at about

 5:15:05. After both vehicleshave come to a complete stop on the side of I-20, Deputy

 Hammondapproaches                                                 for his driver's
                 the driver's sidedoorandasksthedriver,Diaz-Fonseca,

 licensefrom 5: l5:54 to 5:16:10. DeputyHammondcontinuesto standat the window, talking

 to Diaz-Fonseca,but the conversationis largelyinaudibledueto roadnoise. He canbe heard,

 howeveq asking whether there are any guns or knives in the car aI 5:17:55. Meanwhile,

 Deputy Land walks up to the passengerside at 5:17:35.

        Deputy Harnmondthen has the driver get out and walks him to his patrol car at

                                                             at 5:18:57. Deputy
 5:18:20. DeputyLandcomesover and beginstalkingto Diaz-Fonseca
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 Hammond gives Diaz-Fonsecahis licenseback at 5:19:05,while Deputy Land continues

 talking to him. Deputy Hammondappearsto begin filling out the waming at 5:19:18,buthe

 walks out of frame at 5: 19:20. While Deputy Land and Diaz-Fonsecatalk abouthis brother,

 Miguel Fonseca,for the next two minutes,Deputy Hammond is not entirely visible.12At

 5:21:17,however,Deputy Hammondthen beginstalking to Diaz-Fonseca,askinghim if he

 still lives in Phoenix,andtelling him that he needsto updatehis licensebecausehe now lives

 in Georgia. Deputy Hammond also asksDiaz-Fonsecahis birthday and the year of his car

 frorn 5:22:05to 5:22:34.

        Deputy Land, who had previouslygoneback to the car to talk to Montano,retums at

 5:22:50and beginstalking to Diaz-Fonsecaabouthow nervousMontano seems.At5:23:53,

 Deputy Hammondinterjectsandbeginsexplainingthewarning to Diaz-Fonseca,andhashim

 sign it at 5:24:00. Diaz-Fonsecafinishessigningat 5:24:12,and he handsthe warning back

 to DeputyHammond. After beinghandedbackthe warning,DeputyHammondthentuckshis

 pen into his shirt pocket and asksif there is anythingillegal in the car and if Diaz-Fonseca

 minds if they searchhis car. Diaz-Fonsecaanswersat 5:24:20,lessthan ten secondsafter

 signingthe waming andnine minutesand fifteensecondsafterDeputyHammondinitiatedthe

 stop, "Yeah, go ahead." Deputy HammondhandsDiaz-Fonsecahis copy of the waming at

 5:24:55.

        D.      Deputy Land ObtainsConsentin Writing

        After Diaz-Fonsecatold the deputiesthey could searchhis vehicle,Deputy Land then

 began questioninghim about whether he was carrying any contraband. (FTR 2, 3:16:24-


        'rwhile a video from DeputyLand's vehiclewasalsorecordingthis portionofthe stop,
 Deputy Hammondis not visible on that video either. (SpgGov't's Ex. 19.)
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 l6:40.) Deputy Land also obtaineda consentform usedby the McDuffie County Sheriff s

 Office thathassectionswrittenin bothEnglishandSpanish.(FTR2,3:16:40-17:08.)After

 readingthe form to Diaz-Fonsecain English,DeputyLand hadhim sigrrthe form anddirected

 him whereto do so. (FTR 2, 3:17:45-17:57
                                        .) While DeputyLand testifiedthat Diaz-Fonseca

 had spokento the deputiesin English exclusivelythroughoutthe stop and told them he was

 born in theUnited States,(FTR 2, 4:47:20-48:10),Diaz-Fonsecasignedtheportionofthe form

 written in Spanish,(seedoc.no. 140-2).rr During this time.DeputyHarnmondaskedMontano

 to stepout ofthe vehicle.(FTR2, 3:18:08-18:18.)

        Deputy Land's patrol car was also equippedwith video equipment,and he manually

 activatedhis video recorderas he attemptedto catchup to Deputy Hammondon t-20. (FTR

 2,3:11:55-12:25).DeputyLand'svideo,whichalsocontainsa time stamp,beginsat 5:18:20

 a.m.,on April 2Q,2012,andendsat 6:09:36a.m.,on the sameday.rt lcov't's Ex. 19.) The

 video showsthat, after Diaz-Fonsecatold the deputiesthey could searchhis vehicle,Deputy

 Land proceededto askhim if he was carryinganydrugsor othert)?es ofcontraband,suchas

 bootlegDVDs. Deputy Land thetrbeginsfilling out the written consentform at 5:27:35. AI

 5:29:18,Deputy Land explainsthe consentform to Diaz-Fonsecain English,includingtelling

 him that he was giving the deputiesconsentto searchthe vehicleand that he had "the right to


        ''Diaz-FonsecaalsorequestedthattheCourtutilize the servicesofthe interpreterat the
 hearing to determinewhether the English and Spanishportions of the consentform were
 consistentwith eachother. (FTR 2, 4:49:54-52:24.)The interpreterexplainedthat, while the
 Spanishwas "kind of confusing" and appearedto have been translatedfrom English by a
 computerratherthan a person,it was a direct translation,and a personwho speaksand reads
 Spanishwould be ableto understand  it. (FTR 2, 5:00:15-01:10.)
       'nTheCourt notes,basedon a comparisonofthe time stampson the two videos,that
 Deputy Land's appearsto be about one minute and fifty-one secondsahead of Deputy
 Hammond's.
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 refusethe search,"asprovidedon the form. (Seedoc.no.140-2.) DeputyLand directedDiaz-

 Fonsecawhere to sign, and al 5:29:50, about twelve minutes and fifty-five secondsafter

 Deputy Hammondinitiatedthe traffic stop,Diaz-Fonsecasignedthe consentform.

        E.      Canine Sniff and the Search of the Vehicle

        After Diaz-Fonsecasigned the consentform, Deputy Land had his canine, "PC,"

 performa free-airsniffofthe vehicle.(FTR2,3:19:45-19:53.)
                                                        DeputyLand,who at thetime

 of the hearing had been a certified handler of caninesfor 15 years and was on his third

 certificationwith PC, testifiedthat PC is a "passive"dog who alertsby sitting down. (FTR 2,

 3: l9:00- 19:38.) According to DeputyLand, PC alertedat the passengerdoor seam. (FTR 2,

 3:19:53-20:30.) Both videos of the stop show that PC sits down somewherealong the

 passenger
        sideandthenjumpstowardthecarat thesamespot.r5(Gov't'sEx. 19,5:32:46-32:

                                  After thepositivealert,DeputyLandtold Diaz-Fonseca
 50; Gov't's Ex. 20, 5:30:55-31:03.)

 that the deputieswere going to put Montano in the patrol car, and he askedDiaz-Fonsecato

 explainwhat the deputiesweredoing to Montanoin Spanish,includingspecificallyinforming

 Montanothathewasnotunderarrest.(Gov't'sEx. 19,5:33:40-34:41;
                                                           FTR 2, 3:18:12-18:30.)

                                            of the vehicle,beginningon the passenger
        DeputyLand thenconducteda hand-search

 side. (Gov't's Ex. 19,5:35:05-52:05.)
                                    DeputyLandtestifiedthathe wasadvisedat the GBI

 GBI briefing not to go directly to the front bumper so as not to reveal the source of the

 informationgivento law enforcement.(FTR 2, 3:21:45-22:20;3:22:35-22:50.)
                                                                       He first found

 a hosein the sparetire compartmentofthe trunk thathad a "plasticplunger" on the end. (FTR


         '5Diaz-Fonseca  is blocking the view ofthe passengerside in Deputy Land's video,
 (Gov't's Ex. 19, 5:32:46-32:50),however, while the angle from Deputy Hammond's car
 simply makesit difficult to tell whercalongthepassengersidethe dog is alerting,(Gov't's Ex.
 20. 5:30:55-31:03).
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 2, 3:23:45-24:15.)As he continued,he then observeda triangulartube behindthe spoiler in

 the front of the car that had a black ducltaped item stuffedinside. (FTR 2, 3:24:50-25:2O.)

         After seeingthis package,DeputyLand placedDiaz-Fonsecainto handcuffs. (FTR 2,

 4: l0:37- l 0:48.) Later, using the hose,both deputieswere ableto retrieve the packagefrom

 the car.'o (FTR 2, 3:25:21-25:33.)DeputyLand testifiedthat he was informedat the GBI

 briefing to usethe hoseto retrievethe package. (FTR 2, 3:25:36-25:40.)When the package

  was later opened,the substanceinside field testedpositive as methamphetamine.(FTR 2,

  3:33:28-33:35.)

  III.   DISCUSSION"

         A.     Initial Traffic Stop Lawful

         Diaz-Fonsecaand Montano dispute the constitutionalityof the initial traffic stop.

  Specifically,at the hearing,counselfor Diaz-Fonsecacontendedthat it was "questionable"

 whether a traffic violation occurredand that Deputy Hammond did not have reasonable

  suspicion to justify a stop basedon the GBI briefing, as the reliability of the source of

  information for that briefing was not known, while counselfor Montano arguedthat Diaz-

 Fonseca'sfailure to maintainlanewould not ordinarily haveprompteda police officer to stop

 the vehicle. (SEsFTR 2, 4:54:40-55:26,
                                     4:58:40-59:
                                              10.)

         Where a party moves for the suppressionof evidence,the movant bearsthe initial



         '"The video from Deputy Land's patrol car showsthat, at 5:52:05,he orders Diaz-
 Fonsecato the ground. (Gov't's Ex. 19.) At 6:01:25,after gettinghelp from Deputy
 Hammondto retrieveit, DeputyLand is seencarryinga black packagefrom the vehicle. (Id.)
          r?Here,while Diaz-Fonsecaand Montanosubmittedseparatemotionsto suppress,the
  governmentfiled an identicalresponseto both, andthe Court held a singleevidentiaryhearing
  for both motions. Thus. the Court will considerboth motionstosether.

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 burden of showing that he was subjectedto a searchor seizureand that lhe evidencein

                            in the contextofa warrantlesssearchor seizure,the burden
 questionshouldbe suppressed;

 then shifts to the govemmentto showthat the encounterwas consensualor that the searchor

  seizurewasjustified.SeeUnitedStatesv. de la Fuente,548 F.2d528,533 (5th Cir. 1977)r8;

 Uniled Statesv. Beckham,505 F.2d 1316,1318(5th Cir. 1975). Moreover,a traffic stopof

  a vehicleis constitutionalif it is basedon orobablecauseto believethat a traffic violation has

  occurredor if officers have"reasonable,articulablesuspicion"that an individual is engaged

  in criminal activity. United Statesv. Harris, 526 F.3d 1,334,1337 (11th Cir. 2008) (per

 curium)(qlu'oting                                   (l lth Cir. 2000)).
                 UnitedStatesv. Powell,222F.3d,913,917

                 l.      Probable Causeto BelieveTraffic Violation Had Been Committed

         Diaz-Fonsecaand Montano first questionwhetherDeputy Hammond had probable

  causeto believea traffrc violation had beencommittedbeforehe stoppedtheir vehicleon the

  moming of April 20, 2012.

         "A driver must maintaina laneof traffic in Goorgia." United Statesv. $175.722.77.

  in United StatesCurrency.more or less,307 F. App'x 257,259 (llth Cir.2007) Qtercuriam)

  (citing O.C.G.A. $ 40-6-48).'l)Specifically,underGeorgialaw, an officer hasprobablecause

 to believea violation of O.C.G.A. $ 40-6-48(l) hasoccurred,andhe may initiatea traffic stop,


         'nln Bonnerv. City of Prichard,661 F.2d 1206,1209(l lth Cir.1981)(en banc),rhe
 Eleventh Circuit adoptedas binding precedentthe decisionsof the former Fifth Circuit
 renderedprior to October 1, 1981.
         1eO.C.G.A. 40-6-48provides,in relevantpart:
                  $

         Wheneverany roadway has been divided into two or more clearly marked
         lanes for traffic . . . (1) A vehicle shall be driven as nearly as practicable
         entirely within a single lane and shall not be moved from such lane until the
         driver hasfirst ascertainedthat suchmovementcanbe madewith safety.

                                               1l
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  when a vehicledriveson to the centerline of the road. SeeSemichv. State,5065.E.2d216,

  218 & n.8 (Ga. Ct. App. 1998)(noting that "weaving out of one's lanejustifies a stop" and

  "constitutesa traffic violation," including "weaving onto the centerline"); seealso Acree v,

  State.737 S.E.2d103,105(Ga.Ct. App. 2013)(notingrharpoliceofficer'sstopwasjustified

  under o.c.G.A. $ 40-6-48(l) when video showedthat dsfendant"touche.dthe centerline.

  drifted back, and then touchedthe right fog line.").

         Here, the video taken from Deputy Hammond'scar showsthat Defendants'vehicle

  beginsdrifting towardthe centerline, and,for aboutfive seconds,the tires on the driver's side

  ride on the centerline, immediatelyafterwhich Deputy Hammondinitiatesthe traffic stop.2.

  (Gov't's Ex. 20, 5:14:50-5:15:05.)
                                  Counselfor Montanoattempted
                                                            to establish
                                                                       at thehearing

  that Deputy Hammondwas actuallymotivatedto stopDefendantssolelyby his suspicionthat

 they were involved in narcoticstrafficking. To the extenthe disputesthat a traffic violation

 occurred,however,this is flatlybelied by the video evidenceandthe uncontradictedtestimony

 of Deputy Hammond. With that established,the Court neednot engagein any speculation

 aboutDeputyHammond'sactualsubjectivereasonfor stoppingDefendants.As the supreme

 court hasrnadeabundantlyclear,wherethereis probablecauseto believea traffic offensehas

 occumed,the ofhcer's subjectiveintent when initiating the stop is irrelevantto the Fourth




         r0As noted earlier,
                             counsel for Diaz-Fonsecacontendedat the hearing that it was
 "questionable"whether the video showeda violation. Deputy Hammond testified that he
 thoughtthe video would show the violation, (FTR 1, 2:54:23-54:40),but that it was possible
 that the violation he witnessedoccunedbeforethe video beganrecording,(FTR 2, 2: l g: 15-
 l8:24). While the Court doesnot find the video to be unclearon this point, Deputy Hammond
 alsooffereduncontradicted  testimonythathe witnessedthevehicletouchthecenterline, which
 promptedhim to initiatethe stop. (FTR 1,2:41:30-41:46;    FTR 2, 2:17:05-18:07).

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  Amendmentinquiry.rl SeeWhrenv. UnitedStates,517 U.S. 806, 813 (1996). Thus,the

  court easilyconcludesthatDeputyHammondhadprobablecauseto believethatDiaz-Fonseca

  violated $ 40-6-48(l), and that his subsequentinitiation ofa traffic stop was lawful on that

  basisalone. SeeHarris, 526 F.3d at 1337.

                 2,     ReasonableSuspicion to Stop Vehicle

         While the Courl hascomfortablyconcludedsuprathat DeputyHammondhad a lawful

  basis to stop the vehicle based on a traffic violation, the court also finds that Deputy

  Hammond could have lawfully stoppedthe vehicleregardlessof the violation basedon the

  briefing he and Deputy Land receivedthat moming.

         As the Court's analysishereturnson the GBI briefingthe deputiesreceived,however,

  the court must first addressa thresholdissueraisedby counselfor Montano at the hearing:

 that the GBI brieling was not mentionedin DeputyLand's arrestreport,which was the only

 repoft either deputypreparedconcemingthe April 20th encounter.(FTR 2, 2:09:35-09:46.

 4:13:12-13:25.) While that is correct,(Seg_gEledlydoc. no. 139-l), the Court notes thal

 "[t]he mere fact that an incident report omits certain detailsis not sufficient to render the

 officer's testimonyconcerningthe underlyingaction facially implausible." United Statesv.

 Smith,688 F.3d730,734n.l0 (l lth Cir.2012)(quotingUnitedStatesv. Mendoza,6jj F.3d

 822' 828 (8th cir. 2012)). Rather,the issueis one of credibility, as both deputiesoffered

 testimonyat the hearingaboutwhat they weretold at the GBI briefing, andtherewas no other

 accountof that briefing in the record.


         ''ln any event, as discussed greater
                                       in       detail infra, seePart IILA.2, even if Deputy
 Hammondwas in factmotivatedto stopthecarbecauseit matchedthe descriptiongiven in the
 briefing, that offers no help to Defendants,becausethat was also a lawful basisfor stopping
 the vehicle.

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           Credibility determinations
                                    "are typicallytheprovinceofthe factfrnderbecausethe fact

  linder personallyobservesthe testimonyandis thusin a betterpositionthana reviewing court

  to assessthe credibility of witnesses." United Statesv. Ramirez-Chilel,289 F.3d 744,749

  (l1th Cir.2002); seealso United Statesv. Pineiro,389 F.3d 1359,1366(1lth Cir.2004)

  (recognizingthat credibility determinationsare within the province of the factfinder). In

  making its credibiliq' determination,the Court must take into considerationnot only the

  interestsofthe witness,but also "the intemal consistencyofthe fwitness's]testimony,or his

  candoror demeanoron the stand." Ramirez-chilel,289 F.3d,at 749,750 (citationsomitted)

           Here,the Court creditsthe deputies'testimonyaboutthe informationthey were given

  at the GBI briefing for three reasons. First, each deputy's account of the briefing was

  consistentwith the other's,with the slightdifferencesnotedin greaterdetail above. (compare

  FTR 1, 2:38:30-39:02,
                     2:39:06-39:28,
                                 2:39:40-39:49,2:40:0O-4O:081
                                                         FTR 2, 2:12:0O-12:16

  (Hammond'stestimony)with FTR 2, 3:08:30-43,3:08:44-08:55,
                                                         3:09:06-09:45,3:21:00-

 2l:.1Q'3:21:.25-21
                  :35 (Land'stestimony).)second,thedeputies'accountsofthe briefing were

 also internally consistent,and remainedso during cross-examination.(SSgFTR 2, 2:1,4:55-

  14:58,l5:27-15:42,l6:00- l6:05, l6:24-1632,20:20-20:36(cross-examination
                                                                        ofHammond);

 4: l3:40- 15:l0 (cross-examination
                                  ofland).) Finally, DeputyLand'sconductduringhis search

 of the vehicle, particularly his decisionto use the hosehe found in the trunk to attemptto

 retrieve the packageout of its location in the front of the car, corroboratesthe deputies'

 testimonythat they had beentold aboutwherethe narcoticswerelikely to be hiddenin the car

 andhow to retrievethem.(SeeFTR 2,2:2002-20l.09,3:21:00-21
                                                        10,3:21:25-21:35.3:25:36-

 25:40.)

        With the credibility issueresolved,the Court notesthat police officersmav conducta

                                             t4
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  briefinvestigatorystopwheretheyhave"reasonable,articulablesuspicion"that an individual

  is engagedin criminalactivity. Harris,526F.3dat 1337(quotingPowell,222F.3daI 917).

  Reasonablesuspicionis determinedfrom the totality of the circumstances,United Statesv

  Sokolow, 490 U.S. l, 8 (1989), and requiresthat the officer point to specificand articulable

  facts which, takentogetherwith rationalinferencesfrom thosefacts,reasonablywarrant the

  investigativestop. Terrv v. Ohio, 392 U.S. t, 21 (1968); seealso United Statesv. Pruitt, 174

  F . 3 d1 2 1 5 l, 2 l 9 ( 1 l t h C i r . 1 9 9 9 ) .

             Although the "reasonablesuspicion"requiredfor a Terr.vstopis lessstringentthanthe

  requirementfor probablecause,United Statesv. Mikell, 102F.3d,470,475 (Ilth Cir. 1996),

  it doesrequire"more thanjust a hunch." United Statesv. Lewis, 674 F.3d,1298,1303 ( I I th

  Cir.2012) (quotingUnitedStatesv. Lee,68F.3d 1267,1271(1lthCir. 1995)).The officer

  mustbe ableto articulatesomeminimal, objectivejustificationfor the investigatorydetention.

  UnitedStatesv. Acosta,363F.3d1141,I 145( I lth Cir. 2004);UnitedStatesv. Williams,876

 F.2d 1521, 1524(1lth Cir. 1989). Reasonable
                                           suspicionfor a stop can be basedon the

 "collective" knowledgeofall the officersinvolved in the stop,Acosta,363 F.3d at 1145,and

 officers are permitted "to draw on their own experienceand specializedtraining to make

 inferencesfrom anddeductionsaboutthecumulativeinformationavailableto themthat'might

 welleludeanuntrainedperson."'UnitedStatesv.Arvi2u,534U.5.266,273(2002)(quoting

 UnitedStatesv. Cortez,449U.S. 4t 1, 418 (1981).

            Moreover, officers may usea tip to developreasonablesuspicion,so long as the tip

 exhibits "sufficient indicia ofreliability." Florida v. J.L., 529 U.S. 266,270 (2000) (quoting

 Alabama v. White, 496 U.S. 325,332 (1990)). For example,the SupremeCourt concluded

 in White that wherean anon)'moustip correctlypredictednot only "easily obtainedfactsand

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  conditions," but also the suspectedcocainetransporter's"future behavior", the time she

  would leave a particular apartmentbuilding and the location to which she would then be

  traveling - it was sufficiently reliable to provide officers reasonablesuspicionto stop her

  vehicle. 496 U.S. at 331-32;seealsoUnitedStatesv. Woods,385 F. App'x 914, 9lg (11th

  cir. 2010) (per ctrriam) (whereconfidentialinformant accuratelyprovided the color, make,

  and model ofthe suspecteddrug trafficker's car, andthat he would be at a particularlocation

  aroundnoon that day, officershad reasonablesuspicionto stopvehiclematchingdescription

  at that location); cf. J.L., 529 u.s. at 271 (anonymoustip which provided "no predictive

  information" and no other basis for its assertionthat a young black male in a plaid shirt

  standingat a busstopwascarryinga weaponwasnot sufficientlyreliableto justif, Terry stop).

         Here, therecan be no doubt that Deputy Hammondhad reasonablesuspicionto stop

 the vehicle. The sourcecorrectlypredictedthat a red chevrolet bearinga Georgiatag would

 be traveling eastboundon I-20 between5:00 and 6:00 a.m., and that someonewith the lasr

 name"Fonseca"or "Fonsesco"would occupyor be involved with the vehicle,which Deputy

 Hammondconfirmedby checkingthevehicle'sregistration.(FTR 1,2:3g:3O-39:02,2:39:06_

 39:28,2:39:40-j9:49,2:40:00-40:08,
                                 2:41:46-42:07;
                                             FTR 2, 2:12:00-1216,2:40:45-40:55,

 3:08:30-08:55,3:09:06-09:45,4:15:00-15:10.) Thus, while counselfor Diaz_Fonseca

 contendedat the hearingthat the sourceof the informationwas unknown and its reliability

 unceftain,DeputyHammondcorroboratedthe tip beforeinitiating the stop,and"[w]hen there

 is sullicient independentcoroboration of an informant's information, there is no need to

 establishthe veracityof the informant."united Statesv. Martin,29'7F.3d 1309,1314(l 1th

 cir. 2002) (intemal quotationmarks omitted). Becausethe sourcealso indicatedthat the

 vehiclewould be transportingmethamphetamine,
                                           DeputyHammondhadreasonablesuspicion

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  to conducta brief investigatory
                                stopof the vehicle. SeeWhite,496U.S. ^t331-32.

         Therefore,regardless
                            ofwhetheranytraffic violation occurredon themoming of April

  20th, the Court also concludesthat Deputy Hammondhad a lawful basisto stop the vehicle

  basedon the reasonablesuspicionacquiredas a resultofthe GBI briefing that morning. See

  Harris, 526 F.3d at 1337. In sum, the initial stop was lawful and provides no basis for

  suppressingthe evidencesubsequentlyseizedduring the stop.

         B.      Consent RequestedDuring Lawful Stop

         Diaz-Fonsecaand Montano also contend,without concedingthat the initial stop was

  lawful, that the deputiesunlawfully prolongedthe stopbeyondits initial purpose- to address

  a traffic violation - by questioningDiaz-Fonsecaand"fishing" for criminal activity. (Doc. no.

  I 39, pp. 5-6; doc.no. 140,pp. 5-6.) The defendantsthusarguethat the consentgiven by Diaz-

  Fonsecaduring theunlawfully extendedstopwasinvalid. (SeejgL)The govemmentcontends,

  however,that the consentwas requestedbefore the initial purposefor the stop - the traffic

  violation - was completed,or, altematively,that the deputieshad reasonablesuspicionto

  prolong the stopbeyondaddressingthe initial traffic violation. (Sesdoc. no. 152,pp. 3-6.)

         "Becausea routinetraffic stopis only a limited form of seizure,it is more analogous

  to an investigativedetentionthan a custodialarrest,"and is thus analyzedunderthe standard

  articulatedin Terr.v.UnitedStatesv. Purcell,236F.3d 1274,1277(1lthCir.200l). Tobe

  constitutionallyreasonable,a Terr.vstop "must be justified at its inception,and reasonably

                                    whichjustified the interferencein the hrst place." Hiibel
  relatedin scopeto the circumstances

  v. Sixth Jud.Dist. Ct. of Nev.. Humboldt Cnt!'.. 542 U.S. l'/'1, 185(2004)(internalquotation

  marksand ellipsisonritted). Moreover,"the duration of lhe traffic stopmustbe limited to the

  time necessaryto effectuatethe purposeof the stop." Purcell,236F.3d at 1277(citing Pruitt,

                                               1'7
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  l74F.3dat 1219). In otherwords,thestop"may not last 'any longerthannecessaryto process

 the traffic violation' unlessthereis reasonablesuspicionof other illegal activity." Id. (citing

 United Statesv. Holloman, 113F.3d 192,196( 1lth Cir. 1997).With theseprinciplesin rnind,

 the Coud turns to Defendants'contentions.

                 1.     Consent RequestedBefore Initial Purpose for Stop Ended

         Diaz-FonsecaandMontano contendthat,by questioningDiaz-Fonsecaaboutmatters

 unrelatedto the tralfic violation and requestingconsentto searchthe vehicle, the deputies

  unlawfully prolongedthe stop. The govemmentasserts,however,that Defendants'assertions

 "are not supporte<lbythe.factsof the stop." (Doc. no. 152,p.3.) The Court finds that the

 governmenthasthe betterargument.

         To beginwith, "[a]n officer's inquiriesinto mattersunrelatedto thejustificationfor the

 traffic stop do not convertthe encounterinto somethingother than a lawful seizure,so long

 asthoseinquiriesdo not measurablyextendthe durationofthe stop." Arizonav. Johnson,555

 U.S. 323,333 (2009);seealsoUnitedStatesv. Griffrn,696F.3d 1354,1362(l1th Cir. 2012)

 ("[U]nrelated questionsposedduring a valid Terry stop do not createa Fourth Amendment

 problem unlessthey measurablyextendthe durationofthe stop.") (internalquotationmarks

 omitted). In particular,"[a]sking questionswhile still in the processof writing out a citation

 or awaiting the responseofa computercheck. . . doesnot extendthe durationor scopeofa

 valid initial seizure." Garcia,284 F. App'x at794; cf. Pruitt, 174F.3d at 1217-21(concluding

 that stop was unlawfully extendedwherevehiclewas pulled over for speeding,but "instead

 of completing [defendant's] ticket," the officer prolonged the stop to a length of over thirty

 minutesby questioningthe defendantandhis passengers
                                                   about"mattersunrelatedto the stop"

 and waiting for a drug dog to arrive on scene),

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         Additionally, it is well establishedthat "[a]n officer conductinga routine trafhc stop

  may requestconsentto searchthe vehicle." Purcell,236 F.3d at 1281(citing Schnecklothv.

           4 f 2 U.5.218,222(1973));seealsoUnitedStatesv. Simmons,172F.3d,775,778
  Bustamonte,

  ( I lth Cir. 1999)("Once thepolice hadvalidly detained[the driver], plainly they were entitled

  under the decisionallaw to conducta variety ofchecks on the driver and his car," including

  "requestingconsentto searchthe car"). Oncea driver hasagreedto the search,"the remainder

  ofthe detentionlis] consensualsolong asthe scopeofthe search[does]not exceedthe consent

  given." Purcell,236 F.3dat 1279n.8.

         Here.relying heavilyon Pruitt, l74F.3datI2l9-21, Diaz-Fonsecaand
                                                                        Montanoassert

  that the deputies unlawfully prolonged the stop by questioning Diaz-Fonseca after "the

  investigation of the traffic stop was over." Deputy Land did question Diaz-Fonseca about

  matters labeled by the defendantsas "frshing" - where the two men were going, who the

 passengerwas and why he was nervous,andtheir itinerary. He did so, however, *-iiiie Deputy

  Hamrnondwaswritingthewaming. (FTR l,?'.44:.14-44l.39:,
                                                    Gov't's Ex. 20, 5:18:20-21:17.)

  DeputyHammondalsoaskedDiaz-Fonsecaa t-ewquestions,suchaswhetherDiaz-Fonseca's

  driver's licensewascurrent,his age,andtheyearofhis car,but again,he did so while drafting

  thewaming. (FTR l,2:45:15-45:25;FTR 2, 3:14:45-15:30;
                                                     Gov't's Ex. 20,5:21:.17-22:34.)

  Then, after Diaz-Fonsecasignedthe waming, in the spanofless than ter seconrlsashe was

 tearingout Diaz-Fonseca'scopy of the waming to hand to him, Deputy Hammond asksdif

  Diaz-Fonsecawas carrying any contrabandand whether the deputiescould searchhis vehicle.

  (FTR 1, 2:46:35-46:48;
                      FTR 2, 2'.21:22-22:0{'
                                          Gov't's Ex. 20,5:24:.O0-24:2O.)

         The crucial distinctionbetweenPruitt andthis case,andwhy Defendants'relianceon

  it is misplaced, is that Deputy Hammond did not delay in issuing the warning to ask Diaz-

                                               1S
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 Fonsecaquestionsor to obtain consentto searchthe vehicle. Rather,he did so as he was

 completingtheprocessof issuingDiaz-Fonsecaa warningfor a traffic violation. CL 174F.3d

 at 1217-18(officer questioneddefendantandhis passengers
                                                       andcalledfor a drug dog to come

 to the scene"i/,.r/earlofcompleting[defendant's]ticket") (emphasisadded).Therewassimply

 nothing unlawful about the deputiesaskingquestionsand requestingconsentto searchthe

                                             F. App'x at 794;Simmons,1'72F.3d
 vehicleasthewarningwascompleted.SeeGarcia,284

 at 778. Even if someof the questionswerearguablyirrelevantto the traflic violation, because

 they did not causean extensionofthe duration ofthe stop,they did not exceedthe scopeof

 the stopeither.22SeeJohnson,555U.S. at333. Accordingly,the requestfor consentto search

 rvasmadebeforethe initial reasonfor the stop- addressingthe traffrc violation - ended,and

 the requestwas thus madeduring a lawful stop.

                2.      Requestfor Consent Made After Lawful Extension of Stop Based
                        on ReasonableSuspicion

        Diaz-Fonsecaand Montano also contendthat Diaz-Fonseca'sconsentwas invalid

 becausethe deputieshad no lawful basisfor extendingthe stop. While the Court hasrejected

 Defendants'argumentthatthe stopwasextendedin the first place,the Court alsofinds thatthe

 deputies certainly had reasonablesuspicion to prolong the stop and conduct further

 investigationbeyondthe initial traffic violation.

        "[O]nce an officer has briefly stoppeda motor vehicle operatorfor the purposeof


        ttAs to the Court's altemativeanalysissupra,Part IILA.2, that the stop was lawfully
 initiated basedon reasonablesuspicionaboutpossiblenarcoticstafficking, the Court notes
 thatquestionsaboutDefendants'itinerary,their businessirrMcDuffie County,andMontano's
 nervousnesswere appropriateas part ofa brief investigationinto that activity. Indeed, as
 discussedinlia, see Part III.B.2, once Defendantswere stopped,the deputies obtained
 additionalinformationto give themreasonablesuspicionto conducta brief investigationinto
 possiblenarcoticstrafficking.

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  issuing a tralfic violation (1.e.,a ticket), the officer's continuing detentionof the vehicle's

  occupantsis authorizedunderthe FourthAmendmentonly ifthe officer canpoint to 'specific

  andalticulablefactswhich, takentogetherwith rationalinferencesfrom thosefacts,reasonably

  warrant the intrusion"' Pruitt, 174 F.3d at 1219 (quoting united statesv. Griffin, 109 F.3d

  706, 708 (l1th Cir. 1997)Qtercuriam)). Put anotherway, officersmay extenda trafnc stop

  if they acquire reasonablesuspicionthat the vehicle's occupantsare engagedin criminal

  activityduringthe stop. Griffin, 109F.3dat708.

         Applying the standard for reasonablesuspicion set forth supra, the deputies here

  cerlainlyhad reasonablesuspicionto prolongthis traffic stop. Seepart III.A.2. As discussed

  in greaterdetail above,the deputieshad reasonablesuspicionto stopthe vehicleto investigate

 possible narcoticstrafficking basedon the information they had been given about a red

  chevrolet traveling eastboundon I-20 that was associatedwith a person by the name

 "Fonseca"or "Fonseco." Seeid. That reasonable
                                             suspicionwas only bolsteredonce the

 vehicle was stopped. Deputy Land observedthat the passenger,Montano, was extremely

 neruous,and he alsoobservedair freshenersand a pictureof"La SantaMuerte" hangingfrom

 the rearview mirror, the latter of which he had been taught was associatedwith narcotics

 trafficking.(FTR2.3:13:30-30:55,3:23:07-23:19,3:23:t9-23:32,4:16:14-16:40,4:20:05-

 20:15.) Equippedwith all of that information,the deputiesclearlyhad reasonablesuspicion

 to continuethe stop beyondaddressingthe traffic violation to conduct further investigation

 aboutthe possiblenarcoticstrafficking. SeePruitt, 174 F.3d at 1219;seealso United States

 v. Pena-Ponce,588 F.3d 579, 582 (8th Cir. 2009) (noting that SantaMuerle figure, which

 off,rcertestified was "commonly used by drug traffickers for protection," contributed to

 reasonablesuspicionto prolong vehicle stop).

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         Therefore, evenifthe Court were to ass\rnearguendo thatDiaz-Fonsecaand Montano

  were correct that the stop was extended beyond its initial purpose, such an extension was

  larvful, and Diaz-Fonseca'sconsent was still requestedduring a lawful traffic stop.

  Accordingly,Defendants'argumentthattheconsentto searchthevehiclewasrequestedaspart

  of an unlawful detention fails, and the timing of the requestprovides no grounds for

  suppressingthe evidencediscoveredduring the search.

         C.      Search of Vehicle Lawful2l

                 1.     Vehicle SearchedPursuant to Valid Consent

         Although Diaz-Fonsecadid not raisethe voluntarinessofhis consentasan issuein his

  motion to suppress,his counsel suggestedin his cross-examinationof Deputy Land that

 uncertaintyaboutwhetherhewasfluentin both EnglishandSpanish,aswell asDeputyLand's

  lack of knowledge about his level of education,cast doubt on the voluntarinessof Diaz-

 Fonseca'sconsent.(FTR 2, 4:42:25-441,5.)




         "As noted earlier, the Court has discussedDiaz-Fonseca'sand Montano's motions
 together.To that end,while Montanowasonly a passenger,       he wasseizedlor purposesof the
 Fourth Amendmentwhen the vehiclewas stopped,and he thus had a basisunderthe Fourth
 Amendment to contestthe seizureand to seek suppressionof evidenceobtainedby law
 enforcementaspart ofthat seizure.SeeBrendlinv. California,S51U.S.249,251,263(2007);
 UnitedStatesv. Chanthasouxat   ,342F.3d 1271,1280( I I th Cir. 2003)(..Asa generalrule,the
 evidencegatheredas a result ofan unconstitutionalstopmust be suppressed.").
         ln this section,however,the Court addresses the inherentvalidity of the stop,basedon
 questioningconductedby counselfor Diaz-Fonsecaat the hearingaboutthe voluntarinessof
 the consenthe gave, as well as argumentsraisedby the govemmentin its responseto the
 motions. For reasonsdiscussedin greaterdetail lufu. the court concludesthat there is no
 issue with the legality of the vehicle search itself. Still, the court is mindful that. as a
 passengerwith no demonstrated   propefiy or possessoryinterestin the vehicle,Montano does
 not have a legitimateexpectationofprivacy in that vehicle,and he thus lacksa legal basisto
 asserta FourthAmendmentviolation with respectto theinherentvalidity ofthe search.see.
 s.g, UnitedStatesv. Lee,586F.3d859,864-65(l lth Cir.2009).cert.denied.I30S.Ct.2392
 (u.s.2010).

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          When the govemmentrelies on consentto validate a search,it has the burden of

  proving that the consentwas voluntary. Bustamonte,412 U.S. at 2221f . Specifrcally,the

  govemmentmustshow that,underthe totality of the circumstances,
                                                              the consentwasbasically

  a free and unconstrainedchoice;that is, the person'swill wasnot overbome,and his capacity

  for self-determinationwas not critically hampered.United Statesv. Watson. 423 U.S. 411,

  424 (1976); seealso United Statesv. Blake, 888 F.2d 795,'798(llth Cir. 1989)(..The

  govemmentbearstheburdenofproving boththe existenceofconsentandthat the consentwas

  not a function of acquiescence
                               to a claim of lawful authoritybut ratherwas given freely and

  voluntarily."). Whetherthe subjectofthe searchknewhe hada right to refuseconsent,though

  a factor to consider,is not controlling. Bustamonte.412 U.S. at 234. In the EleventhCircuit,

  a court examiningwhether a suspectvoluntarily consentedto a searchshould considerthe

  following relevantfactors,none ofwhich is dispositive:

         voluntarinessof the defendant'scustodial status,the presenceof coercive
         police procedure,the extent and level of the defendant'scooperationwith
         police, the defendant'sawarenessofhis right to refuseconsentto the search,
         the defendant'seducationand intelligence,and,significantly,the defendant's
         belief that no incriminatingevidencewill be found.

 UnitedStatesv. Welch,683F.3d 1304,1308-09(llthCir.20t2) (quotingBlake,888F.2dat

 7e8).

         Here,the govemmenthasmet its burdenof demonstratingthat the consentgiven was

 voluntary. As the video of the stop makesplain, the deputiesdid not useany force or threats

 againsteitherDiaz-Fonsecaor Montanoat anypoint beforerequestingconsent,nor any other

 tacticsor proceduresthat could be plausiblydescribedas "coercive."raIndeed,the deputies'


         raThroughquestioningof Deputy
                                       Land,counselfor Montano suggestedat the hearing
 that thedeputies'repeatedassurances
                                   to Diaz-Fonseca
                                                 thathe wasonly gettinga waming were

                                             ZJ
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  conversationwith Diaz-Fonsecathroughoutthe stopappearedrelaxedand genial. Moreover,

  beforehaving him sign the consentform, DeputyLand told Diaz-Fonseca,in English,that he

  had "the right to refusethe search." (Gov't's Ex. 19, 5:29:18-29:50.)The form so readin

  Spanishaswell, (seedoc.no. 140-2;FTR2,4:49:54-52:24),in caseDiaz-Fonseca,who stated

  to the deputiesthat he was bom in the United Statesand conversedwith them in English

  throughoutthe stop,(FTR 2, 4:47:20-48:10),did not understandthe English explanationhe

  hadjust beengiven. SeeGarcia,284 F. App'x at 795 (wheredefendanttold the officer that

  he spokeEnglishand"respondedappropriatelyin English"to theofficer's questions,therewas

  "no indicationthat [he] lackedsufficientcomprehensionof Englishto voluntarily consentto

 the search."). After initially giving the verbalconsent,then having the natureofhis consent

  andhis right to refusecarefullyexplainedto him byDeputy Land,Diaz-Fonsecadidnot waver,

  and he signedthe form.

         In sum, the Court finds that Diaz-Fonseca'sconsent,which was requestedas part of

 a lawful stopfor the reasonsdiscussedsupra,wasvoluntary,and that the searchofthe vehicle

 wasthereforelawful pursuantto that consent,which wasnevermodified or revoked. See.e.g.


 merely a "ruse" and affectedthe voluntarinessofhis consentto the search.(FTR 2, 4:35:40-
 38:22.) As noted above,Montano lacksa legalbasisfor raisingsucha claim. Seesuoranote
 23. In any event, "[t]he substanceof the argumentasks the Court to hold that police
 ingratiationviolatesthe Fourth Amendment. This the Coud will not do." United Statesv.
 Suarez,694 F. Supp. 926,940 (S.D. Ga. 1988) (Alaimo, J.) (rejecting argument that a
 particular officer's "ruse," including being friendly to the driver and only issuing "a mere
 waming," was an "impermissiblemisrepresentation"       that rendereda subsequentconsentto
 searchinvoluntary),aff'd,885 F.2d 1574 (11$ Cir. i989) Qtercuriam). Significantly, the
 deputiesdid not tell Diaz-Fonsecathat he would be freeto go ufter a searchof the vehicle or
 otherwisemisrepresentthe consequences      ofthe search.SeeUnited Statesv. Maddox, 316 F.
                 (
 App'x 908,914 I l th Cir. 2009)  (per curiam)(recognizingdefendant'sargumentthat "consent
 was invalid becauseit wasbasedon the deputies'deceitfulrepresentation     that they would not
 arrest[defendant]so long asthey foundno evidenceofa major drug operationoccurringin the
 apartment,"but rejectingit becausethe evidencedid not supportit).

                                             NA
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  Bustamonte,412 U.S. at 219 (notingthat a warrantlesssearchis reasonableunderthe Fourlh

  Amendmentif it is conductedoursuantto consent).

                 2.      Vehicle SearchedPursuant to Automobile Exception

         While the Court hasconcludedthatthe searchat issuein this casewas lawful basedon

  Diaz-Fonseca'svoluntary consent during a lawful stop, the Court also agreeswith the

  govemment that the searchof the vehicle was lawful regardlessof the validity of Diaz-

          consent.(Seedoc. no, 152,pp.4-6.)
  Fonseca's

         "Underthe automobileexception,agentsmayconducta warrantlesssearchofavehicle

  if (l) the vehicle is readily mobile (i.e., operational);and (2) agentshaveprobablecauseto

  believethe vehiclecontainscontrabandor evidenceofa crime." United Statesv. Tamari,454

  F.3d 1259,1261( I lth Cir. 2006). Of note,"a drug sniffperformedduring a lawful traffic stop

  is not a searchimplicating Fourth Amendmentconcems." ld. at 1265n.6 (citing Illinois v.

  Caballes,543U.S.405,410(2005)).Moreover,"probablecauseariseswhena drug-trained

 caninealertsto drugs."Id. at 1265(quotingUnitedStatesv. Banks,3F.3d399,402(1lthCir.

  1993)Qtercuriam)). Accordingly,pursuantto the automobileexception,when a caninegives

 a positive alerton a vehicle,officersmay conducta warrantlesssearchofthat vehicle. Seeid.;

 seealso United Statesv. Wilbur, 458 F. App'x 829, 830 (l lth Cir.2012) Qtercuriant) ("The

 drug dog alertedto the presenceof drugs in [defendant's]vehicle, which gave the officers

 probablecauseto searchthe vehiclewithout a wanant[.]").

         Here, as discussedin greaterdetail above,the deputieslawfully detainedDefendants

 aspart of a valid traffic stop,pursuantto both a traffic violation and reasonablesuspicionto

 believe they vehicle may have beeninvolved in narcoticstraflicking. SeesupraPart III.A.

 OnceDefendantsweredetained,thedeputiesdevelopedfurtherreasonablesuspiciontobri efly

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 prolong thatdetentionto investigatetheir suspicionofnarcoticstrafficking activity. Seesupra

  Part IILB.2. Deputy Land then had his trained canine, which was already on the scene,do a

  drug sniff, and that did not constitutea searchof the vehicle, regardlessof whether Diaz-

  Fonsecaconsented.SeeTamari,454 F.3d at 1265. Oncethe caninealertedto the passenger

  side of the car, reasonablesuspicionripened into probable causeto searchthe obviously

  operationalvehiclewithout a warrant. Seeid. at 1265;Wilbur, 458 F. App'x at 830. In the

  absenceofany indication (or evencontention)that the subsequentsearchwas unreasonable,

  thereis no constitutionalissuewith the resultantseizureofevidence.

         In sum,the Court finds that both the initial stopofthe vehiclein which Diaz-Fonseca

  and Montano were traveling and the subsequentsearchwere lawful. Therefore,the Court

  concludesthat there is no basisfor suppressingany of the evidenceseizedas a result of the

  April 20th stop or the resultantsearch.

  IV.    CONCLUSION

         For the reasonsset forth above.the Court REPORTS and RECOMMENDS that

  Diaz-Fonseca'sandMontano'spreliminarymotionsto suppressbe deemedMOOT, (doc.nos.

  127, 128),andthattheir particularizedmotionsto suppressbe DENIED, (doc.nos. 139, 140).

         SOREPORTED
                  andRECOMMENOED
                               tfri/frey                        of May,2013,at Augusta,

  Georgia.



                                       W. LEO




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